         Case 2:20-cv-04759-CMR Document 26 Filed 06/03/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 RICHARD A. GORMAN,
                        Plaintiff,
                v.                                    CIVIL ACTION NO. 20-4759

 ILYA SHPETRIK,
                        Defendant.


                                           ORDER

        AND NOW, this 3rd day of June 2022, upon consideration of the parties’ joint request

for an extension of time for Defendant to answer the Complaint, it is hereby ORDERED that the

request is GRANTED. Defendant may file a response to the Complaint on or before June 16,

2022.

        It is so ORDERED.

                                                       BY THE COURT:

                                                       /s/ Cynthia M. Rufe
                                                       _____________________
                                                       CYNTHIA M. RUFE, J.
